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Bruce A. Fredrickson
Angela M. LeDuc
Rocky Mountain Law Partners, P.C.
1830 3rd Avenue East, Suite 301
P. O. Box 1758
Kalispell, MT 59903-1758
Telephone: (406) 314-6011
Facsimile: (406) 314-6012
E-mail:     bruce@rmtlawp.com
            angie@rmtlawp.com

Chris J. Gallus
CHRIS J. GALLUS LAW, PLLC
1423 Otter Road
Helena, MT 59602
Telephone: (406) 459-8676
E-Mail:      chrisjgalluslaw@gmail.com

Attorneys for Plaintiffs

                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

TIM ANDREW GARDIPEE; BRUNO                                                         ****
FRIIA; BRAD MOLNAR; DAVID
HELMERS, All Individually,
                                                                    COMPLAINT
      Plaintiffs,                                                        and
                                                          Rule 65, F.R.Civ.P Application for
                    vs.                                    Temporary Restraining Order,
                                                            Preliminary and Permanent
STATE OF MONTANA; and                                                 Injunction
MONTANA DEPARTMENT OF FISH                                              and for
WILDLIFE AND PARKS,                                            Attorney Fees and Costs

      Defendants.



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                           \\LAWSERVER\COMPANY\CLIENT_FILES\C\CROSSBOW LITIGATION\PLEADINGS\DRAFTS\COMPLAINT-FINAL.DOCX
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      COME NOW Plaintiffs, Lieutenant Colonel Tim Andrew Gardipee, Retired

(“Lt. Col. Gardipee”), Bruno Friia [“Mr. Friia”], Brad Molnar [“Mr. Molnar”], and David

Helmers [“Mr. Helmers”], [collectively “Plaintiffs”] with their Complaint and

Rule 65, F.R.Civ.P. Application for Temporary Restraining Order and Preliminary

Injunction against Defendants, State of Montana and Montana Department of Fish,

Wildlife and Parks [“FWP”] [collectively, Defendants are referred to as the “State”

or “Defendants”] for violations of the Americans with Disabilities Act, 42 U.S.C.

§ 12101, et seq., the Federal Rehabilitation Act of 1973, 29 U.S.C.A. 701, et seq.,

Mont. Const. Art. IX, Sec. 7, Art. II, Sec. 35, together with other violations of law

as they otherwise pertain to Plaintiffs’ liberties as guaranteed by the United States

and Montana Constitutions. Plaintiffs complain, allege and aver as follows:

                                 INTRODUCTION
      1.     All disabled Americans and all disabled Montanans are protected

from exclusion and from being denied benefits conferred by government that

substantially limits one or more major life activities when reasonable

accommodation can restore their rights to liberty and provide them meaningful

access to programs available to the public, including the right to hunt and harvest

game animals. Mont. Const., Art. IX, Sec. 7; 42 U.S.C. § 12101, et seq. Montana

veterans are also allowed constitutionally protected “special provisions” as may be

provided by the Legislature. Mont. Const., Art. II, Sec. 35.


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      2.     The State receives federal funds through the Federal Pittman-

Robertson Restoration Act and spends them on these programs. 16 U.S.C.A,

§§ 669 et seq. Hunting is a Montana tradition and is an aspect of Montana societal

norms. Hunting is a major life activity to those who enjoy the sport. FWP

provides through its employees and citizen commission, stewardship for all

Montana’s recreational resources, while contributing to the quality of life for

present and future generations. Montana’s constitution guides FWP’s mission.

Unique among states, Montana citizens overwhelmingly supported amending their

constitution to preserve Montana’s game harvest heritage, making the opportunity

to harvest wild fish and wild game animals a constitutional right, which shall

forever be preserved for the individual citizens of the state. Mont. Const. Art. IX,

Sec. 7; see also, Mont. Code Ann., § 87-1-107. Montana further constitutionally

recognizes individual dignity and the sacrifices of military personnel, including

veterans, and especially disabled veterans. Mont. Const. Art. II, Sec 35.

      3.     The Montana Legislature vested FWP, along with the Fish and

Wildlife Commission [the “Commission”] with duties and rule making authority

to, among other things, define annual hunting seasons, regulate allowable hunting

weaponry, and to define classes of hunters, including making accommodations for

disabled hunters. Mont. Code Ann., §§ 87-1-101 & 201.




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      4.    The Montana Legislature recognizes that persons with disabilities are

allowed certain exemptions from otherwise established hunting rules, including,

among other accommodations, the ability to hunt and shoot from a vehicle and

shooting a firearm from the “shoulder, berm, or barrow pit right-of-way of a public

highway.” Mont. Code Ann., § 87-2-803.

      5.    FWP recognizes that persons with disabilities are allowed certain

exemptions from otherwise established hunting rules, including, among others, the

same accommodations referenced in the preceding paragraph. Mont. Admin. R.

12.3.106 (2000).

      6.    Neither Mont. Code Ann., § 87-2-803, nor Mont. Admin. R. 12.3.106

expressly allows or prohibits the use of a crossbow by disabled archers during the

regular archery season.

      7.    The Commission is required to publish annual and bi-annual rules

setting out hunting regulations. The Commission did that for the 2021 Deer, Elk

and Antelope seasons, a true and correct copy of which is attached hereto as

EXHIBIT 1 (2021-dea-regulations-final-for-web.pdf@mt.gov).1

      8.    The 2021 Deer, Elk and Antelope rules published by the Commission

expressly prohibit the use of a crossbow during the regular archery season. Ex. 1,


1
  Only Deer, Elk and Antelope 2021 regulations are referenced herein. However,
the same restrictions and exclusions apply to all big game archery hunting in
Montana.

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pp. 22 & 25. No exceptions are made for disabled individuals whose disability

prevents them from using a “longbow, flatbow, recurve bow, compound bow, or

any combination of these designs,” that are expressly allowed by FWP during the

regular archery season. Ex. 1, p. 22.

      9.       Mont. Code Ann., § 87-6-401(e), makes it a criminal offense to “use

archery equipment that has been prohibited by rule of the commission.”

      10.      Archery hunting is the sort of activity described in 28 C.F.R.

§ 35.104(3).

      11.      Nearly every State permits some way for disabled hunters to use a

crossbow to hunt during their respective archery seasons, yet none of them offer

the same constitutional level protections that Montana purports to provide while

banning these devices.

      12.      Plaintiffs are all among a class of disabled Montana citizens who,

because of their disabilities, are unable to participate in Montana’s regular archery

hunting season because they cannot physically operate archery equipment that is

expressly allowed by FWP. They can, however, operate crossbows that are

expressly prohibited during Montana’s archery hunting season. See Declaration of

LTC Tim Andrew Gardipee (Ret.) [“Gardipee Declaration”]; Declaration of Bruno

Friia [“Friia Declaration”]; Declaration of Brad Molnar [“Molnar Declaration”];




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and Declaration of David Helmers [“Helmers Declaration”], all filed concurrently

and in support of this Complaint.

      13.    Despite the important status of hunting to every Montana hunter and

Montana’s outdoor and hunting culture, the State of Montana through FWP

implemented and enforces rules and regulations that discriminate against and

exclude Plaintiffs and other similarly situated disabled individuals by precluding

them from enjoying a major life activity, participation in archery hunting because

of their disabilities. Because of their disabilities, Plaintiffs have each been

deprived of the ability to engage in other major life activities that would allow

them to hunt during the regular archery season.2 Lt. Col. Gardipee cannot kneel or

stand, both of which are essential and major life activities necessary to operating

archery equipment allowed by the State and FWP. (Gardipee Declaration at ¶ 5).

Because of their disabilities, none of the Plaintiffs possess the physical strength to

use archery equipment authorized by FWP. (Gardipee Declaration at ¶ 5; Friia

Declaration at ¶¶ 3-5; Molnar Declaration at ¶ 3-4; Helmers Declaration at ¶ 3-5).

Kneeling, standing, pulling, and the like, are major life activities that Plaintiffs no

longer enjoy. The deprivation of those day-to-day activities resulted from their

injuries. The cause of that deprivation should not then result in the loss at the hand

2
  Under the ADA, “major life activities include, but are not limited to, caring for
oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,
standing, lifting, bending, speaking, breathing, learning, reading, concentrating,
thinking, communicating, and working.” 42 U.S.C. § 12102(2)

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of the State of their ability to participate in a constitutionally protected right - the

right to hunt - by the State and FWP’s refusal to provide reasonable

accommodations. Neither the State of Montana nor FWP has provided reasonable

accommodations to disabled individuals who are, as a result of their disabilities,

physically unable to operate archery equipment allowed by FWP and Commission

regulations.

      14.      Legislation (SB 111) was proposed during the 2021 Montana

Legislative Session that would have provided reasonable accommodation to

Plaintiffs and other similarly situated disabled Montanans who are unable as a

result of their disabilities to use accepted archery equipment and would have

allowed the use of crossbows during Montana’s regular archery season. A true and

correct copy of SB 111 is attached hereto as EXHIBIT 2. SB 111 was defeated

thereby precluding the Legislature’s ability to rectify a wrong and exercise its

responsibility to provide reasonable accommodations under the ADA.

      15.      Each Plaintiff owns or is able and willing to purchase alternative

archery equipment - crossbows - that they can physically use to participate in

Montana’s archery season. Each Plaintiff made a reasonable accommodation

request to FWP for permission to use this equipment in Montana, but Defendants

promptly denied each request without thorough evaluation or review. True and

correct copies of Plaintiffs’ requests and FWP’s Denial Letters are attached to each


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of the Plaintiffs’ Declarations. Plaintiffs Molnar and Friia also submitted a

complaint regarding the same ADA issue to the United States Department of

Justice [“USDOJ”]. Their complaints were ultimately referred by the USDOJ to

the United States Department of Interior. To date no action has been taken on

those Federal complaints. Further requests to Defendants for reasonable

accommodations that would allow Plaintiffs and other similarly situated disabled

individuals to enjoy their Constitutionally protected right to hunt would be a

fruitless effort, especially as those requests relate to the 2021 archery season.

      16.    Montana’s 2021 regular archery season commences on September 4,

2021, and closes on October 8, 2021. Ex. 1, p. 11.

      17.    Defendants’ treatment of the Plaintiffs, and all other disabled

individuals presently unable to operate allowed archery equipment, seeking to

archery hunt in Montana violates federal and state anti-discrimination laws. The

ability to hunt during the archery season is a major life activity afforded by the

State and guaranteed by Montana’s constitution of which Plaintiffs have been

deprived. Therefore, Plaintiffs now seek injunctive, declaratory and additional

relief including damages (compensatory and nominal), and attorneys’ fees and

costs for the discrimination and lack of accommodation they suffered.




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                            JURISDICTION AND VENUE
      18.    Plaintiffs’ claims arise under the Americans with Disabilities Act,

§ 42 U.S.C.A. § 12101, et seq. [“ADA”], the Rehabilitation Act, 29 U.S.C.A.

§ 701, et seq., and the Federal Declaratory Judgments Act, 28 U.S.C.A. § 2201, et

seq., and accordingly this Court has jurisdiction pursuant to 28 U.S.C. § 1331 and

§ 1343(a)(3) & (4).

      19.    Venue is proper in the Federal District Court Montana, Missoula

Division pursuant to 28 U.S.C. § 1391, and D. Mont. L.R. 3.2(b).

                                      THE PARTIES
      20.    Plaintiffs incorporate the allegations stated in Paragraphs 1 – 19,

above, as if fully restated herein.

Lt. Col. (Ret.) Tim A. Gardipee

      21.    Tim A. Gardipee, Lt. Col. (Ret.), is an individual residing in Missoula,

Montana and is a qualified member of two federally recognized Native American

Tribes (the Fort Belknap Assiniboine and Gros Ventre and Turtle Mountain

Chippewa. He is of suitable age and capacity to bring this action. )Gardipee

Declaration at ¶¶ 1 - 3).

      22.    Lt. Col. (Ret.) Gardipee is a person with a disability as that term is

defined by the ADA. 42 U.S.C. § 12132; 28 C.F.R § 35.108(a)(1). His disability

is the result of a neurological vaccine injury (Transverse Myelitis C-4 Paralysis)


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due to complications from a previous military parachute crash landing in 2005.

(Gardipee Declaration at ¶¶ 4, 6-8).

      23.     Lt. Col. (Ret.) Gardipee is wheelchair bound. His disabilities preclude

him from engaging in major life activities, including kneeling, standing, walking

(he is unable to stand or walk without a walker, and then only momentarily) and

pulling, and his constitutionally protected right to archery hunt during Montana’s

regular archery season, a sport he enjoyed for years prior to his injuries. He is

physically unable to operate archery equipment allowed by FWP. (Gardipee

Declaration at ¶¶ 4, 11-13).

      24.     Lt. Col. Gardipee’s hunting history, injuries and other testimony

supporting this Complaint are included in the Gardipee Declaration filed

concurrently herewith.

Bruno Friia

      25.     Bruno Friia [“Friia”] is an 80 year old individual residing in Missoula,

Montana. He is of suitable age and capacity to file this suit. (Friia Declaration at

¶¶1 - 2).

      26.     Mr. Friia is a person with a disability as that term is defined by the

ADA. 42 U.S.C.S. § 12132; 28 C.F.R § 35.108(a)(1).

      27.     Mr. Friia’s disability is a result of multiple rotator cuff surgeries.

making pulling and properly holding a bow, even a modified bow, impossible or


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extremely and unreasonably difficult, and his disability prevents him from

engaging major life activities including his physical ability to pull and properly

hold archery equipment allowed by the State and FWP, and his constitutionally

protected right to hunt during Montana’s archery season, an activity he engaged

since 1964. (Friia Declaration at ¶¶3 - 5).

      28.    Mr. Friia’s hunting history, injuries and other testimony supporting

this Complaint are included in the Friia Declaration filed concurrently herewith.

Brad Molnar

      29.    Brad Molnar is individual residing in Billings, Montana. He is an

elected official serving in the Montana State Senate but appears in this action in his

individual capacity and not his official capacity. He is of suitable age and capacity

to file this suit. (Molnar Declaration at ¶¶1 - 2).

      30.    Brad Molnar is a person with a disability as that term is defined by the

ADA. 42 U.S.C.S. § 12132; 28 C.F.R § 35.108(a)(1).

      31.    Mr. Molnar’s disability is a result of a devastating horse riding

accident that resulted in significant and progressive shoulder damage making

pulling and properly holding a bow, even a modified bow, impossible or extremely

and unreasonably difficult. (Molnar Declaration at ¶¶3 - 4, 21-23).

      32.    Mr. Molnar’s disability precludes him from engaging in major life

activities, including pulling and properly holding archery equipment authorized by


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the State of Montana and FWP, and his Constitutionally protected right to during

Montana’s archery season, a sport he enjoyed since his youth but can no longer

enjoy because of his injuries. He is physically unable to operate archery

equipment allowed by FWP. (Molnar Declaration at ¶¶ 4, 21-23).

          33.   Mr. Molnar’s hunting history, injuries and other testimony supporting

this Complaint are included in the Molnar Declaration filed concurrently herewith.

David Helmers

          34.   David Helmers is individual residing in Plentywood, Montana. He is

of suitable age and capacity to file this suit. (Helmers Declaration at ¶¶1 - 2).

          35.   David Helmers is a military veteran who carries a 100% disability

rating. He is a person with a disability as that term is defined by the ADA. 42

U.S.C.S. § 12132; 28 C.F.R § 35.108(a)(1).

          36.   Mr. Helmers’ disability is a result of two cervical spine surgeries (four

level with metal plate and screws, front and rear), one rotator cuff surgery, one low

back surgery, one knee replacement, one knee scope and a dorsal column

stimulator implant, and carpal tunnel surgery on both hands. (Helmers Declaration

at ¶3).

          37.   Mr. Helmers’ disability precludes him from pulling more than eight

(8) pounds vertically or horizontally which are essential and major life activities

and physical requirements necessary to operate a recurve or compound bow


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precluding him from exercising his Constitutionally protected right to during

Montana’s archery season, a sport he enjoyed since the late 1960s, but can no

longer enjoy because of his injuries. He is physically unable to operate archery

equipment allowed by FWP. (Helmers Declaration at ¶¶ 5-9).

      38.    Mr. Helmers’ hunting history, injuries and other testimony supporting

this Complaint are included in the Helmers Declaration filed concurrently

herewith.

                              COUNT ONE
             DECLARATORY JUDGMENT AND CLAIM FOR DAMAGES
         (REHABILITATION ACT & AMERICANS WITH DISABILITIES ACT)
      39.    Plaintiffs incorporate the allegations stated in Paragraphs 1 - 38, as if

fully restated herein.

      40.    The ADA defines “disability” as “a physical or mental impairment

that substantially limits one or more major life activities of such individual.” 42

U.S.C.A. § 12102(1)(A); 28 C.F.R § 35.108(a)(1).

      41.    The Rehabilitation Act provides in relevant part that “[n]o otherwise

qualified individual with a disability in the United States … shall solely by reason

of her or his disability, be excluded from the participation in, be denied the benefits

of, or be subjected to discrimination under any program or activity receiving

Federal financial assistance….” 29 U.S.C.A. § 794(a).




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      42.    The procedures and remedies under the Rehabilitation Act parallel

those of the ADA and the jurisprudence of each can be used to interpret the other.

      43.    Major life activities “include, but are not limited to, caring for oneself,

performing manual tasks, seeing, hearing, eating, sleeping, walking, standing,

lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,

communicating, and working.” 42 U.S.C. § 12102(2).

      44.    Hunting and fishing are recognized “major life activities” for

Montanans and as such are afforded Constitutional and Legislative protection.

Mont. Const. Article IX, Sec. 7; see also, Mont. Code Ann., § 87-1-107.

      45.    Congress expressly intended that the definition of “disability … be

construed in favor of broad coverage of individuals” under the ADA. 42 U.S.C.A.

§ 12102(4)(A).

      46.    The State of Montana and FWP are “public entities” within the

meaning of the ADA. 42 U.S.C.A. § 12131(1).

      47.    A “qualified individual with a disability” as that term is defined by the

ADA is an “individual with a disability who, with or without reasonable

modifications to rules, policies, or practices … meets the essential eligibility

requirements for the receipt of services or the participation in programs or

activities provided by the public entity.” 42 U.S.C.A. § 12131(2).




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      48.    The ADA provides that “[s]ubject to the provisions of this subchapter,

no qualified individual with a disability shall, by reason of such disability, be

excluded from participation in or be denied the benefits of the services, programs,

or activities of a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C.A. § 12132; see also Rehabilitation Act, 29 U.S.C.A. § 794(a).

      49.    It is incumbent on the State of Montana and FWP to provide

reasonable accommodations to disabled individuals, including Plaintiffs, whose

disability precludes them from engaging in major life activities, including those

recognized by the ADA and Rehabilitation Act which prevent them from

“participation in or be denied the benefits of the services, programs, or activities of

a public entity,” and including archery hunting during Montana’s regular archery

season. 42 U.S.C.A. § 12132; Rehabilitation Act, Act, 29 U.S.C.A. § 794(a); 28

C.F.R. § 35.130(b)(7)(i).

      50.    An accommodation allowing Plaintiffs and other similarly situated

disabled hunters to use a crossbow during Montana’s regular archery season is

reasonable under the circumstances.

      51.    The use of a crossbow by those disabled individuals, including

Plaintiffs, who because of their disabilities are unable to utilize archery equipment

allowed by the State of Montana and FWP (“longbow, flatbow, recurve bow,

compound bow, or any combination of these designs,”) is an accommodation akin


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to the example set forth in 28 C.F.R. § 35.104(3) (“Acquisition or modification of

equipment or devices.”)

      52.    Accommodating the limitations of individuals who have difficulty

with grasping and squeezing is very commonplace. For example, under the ADA

Accessibility Guidelines public accommodations must replace doorknobs with

door handles that can be push opened without a tight grasping and squeezing

maneuver. See 2010 ADAAG Advisory 404.2.7. Similarly, operable parts of

equipment must not require more than five (5) pounds of strength. See 2010

ADAAG 309.4.

      53.    Authorization to use the Crossbow is a necessary change in

Defendants’ policies, procedures, or rules relating to authorized archery equipment

available to disabled Montana archery hunters unable to utilize the archery

equipment currently authorized by Defendants.

      54.    The State of Montana has not, despite requests from each of the

Plaintiffs, provided Plaintiffs or other similarly situated disabled individuals, with

reasonable accommodations that would allow Plaintiffs to archery hunt in the

regular archery season. (Gardipee Declaration at ¶¶15-16, 30-32; Molnar

Declaration at ¶¶10-11, 24-28, 33; Friia Declaration at ¶¶11-12, 30-32; Helmers

Declaration at ¶¶11-12, 29-33).




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      55.    The State of Montana and FWP, by refusing reasonable

accommodations (both by existing regulation and by the Legislatures refusal to

pass legislation that would provide reasonable accommodations) including the use

of crossbows during Montana’s regular archery season to Plaintiffs and other

similarly situated disabled individuals, violated and continues to violate the

provisions of Mont. Const. Article IX, Sec. 7, the Rehabilitation Act, 29 U.S.C.A.

§ 701, et seq., and the Americans with Disabilities Act and its accompanying

Federal regulations.

      56.    The State of Montana uses eligibility criteria that tend to screen out

people with disabilities. 28 C.F.R. § 35.130(b)(8). Specifically, by not permitting

the use of alternative auxiliary aids or services, the State of Montana is

impermissibly screening out individuals with disabilities, including Plaintiffs.

      57.    The State of Montana and FWP receive Federal financial assistance

through the Pittman-Robinson Restoration Act applicable to its hunting statutes

and regulations, including Federal assistance for public land use. 16 U.S.C.A.,

§§ 669, et seq.

      58.    By virtue of its receipt of Federal assistance, neither the State of

Montana nor FWP are protected by immunity from the action stated in this

Complaint. 42 U.S.C.A. § 12132; 42 U.S.C.A. § 2000d-7.




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      59.      Both by existing statutes and regulations, and by the Legislature’s

failure to pass legislation that would have provided reasonable accommodation, the

State of Montana and FWP have acted with deliberate indifference to Plaintiffs’

disabilities that preclude them from utilizing archery equipment accepted by FWP

and the Commission and by refusing reasonable accommodations to Plaintiffs that

would allow them to participate archery hunting during the regular archery season.

The State of Montana and FWP acted, or in the case of Plaintiffs, refused to act

with full knowledge that there was a substantial likelihood that they were

infringing on a federally protected right, and were provided notice by each of the

Plaintiffs that each was in need of a reasonable accommodation.

      60.      This action raises and recognizes the existence of an actual case and

controversy regarding Defendants’ adherence to the ADA and its accompanying

regulations.

      61.      Plaintiffs are entitled to a judgment from this Court declaring that

Defendants’ actions in failing to provide reasonable accommodations (the use of a

crossbow) to allow Plaintiffs the ability to enjoy a major life event guaranteed and

protected by Mont. Const. Art. IX, Sec. 7 (archery hunting during Montana’s

regular archery season) violate the Rehabilitation Act, the ADA and accompanying

regulations. 28 U.S.C.A., § 2201.




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      62.    Plaintiffs are entitled to nominal or compensatory damages and other

remedies authorized by Congress resulting from the Defendants’ deliberate

indifference to Plaintiffs’ federal rights protected by the Americans with

Disabilities Act, all in an amount to be proven at trial. 42 U.S.C.A. § 12133;

29 U.S.C.A. § 794(a).

      63.    Plaintiffs are entitled to recover their reasonable costs, expenses and

attorney fees as a result of Defendants’ violation of the Americans with Disabilities

Act. 42 U.S.C.A. § 12205.

                                  COUNT TWO
                         (TEMPORARY RESTRAINING ORDER)
      64.    Plaintiffs incorporate the allegations stated in Paragraphs 1 - 63, as if

fully restated herein.

      65.    The right to hunt and fish are rights recognized and protected by

Montana’s Constitution. Mont. Const. Article IX, Sec. 7. The Montana

Legislature purports to afford Montanans the same rights and protections

guaranteed by the Montana Constitution. Mont. Code Ann., § 87-1-107.

      66.    Montana also constitutionally recognizes individual dignity and the

sacrifices of military personnel, including veterans, and especially disabled

veterans. Mont. Const. Art. II, Sec 35.

      67.    Despite Plaintiffs’ requests for reasonable accommodations to

mitigate the impact of Defendants’ rules and regulations prohibiting Plaintiffs’ use

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of crossbows during Montana’s regular archery season, Defendants have violated

the provisions of Mont. Const. Article IX, Sec. 7, Mont. Const. Art. II, Sec 35, the

Rehabilitation Act and the Americans with Disabilities Act and accompanying

Federal regulations.

      68.    Plaintiffs’ are likely to prevail on the merits of their claims at trial.

They each suffer a “disability” as that term is defined by the ADA and its

accompanying regulations (42 U.S.C.A. § 12102(1)(A); 28 C.F.R § 35.108(a)(1);

they are each, because of their disabilities deprived of “major life activities as that

term is defined by the ADA (42 U.S.C.A. § 12102(2)(A) – kneeling, standing,

pulling - that prevent them from engaging in the benefits of the services, programs,

or activities provided by the State of Montana and FWP, and are further being

deprived of a “major life activity” guaranteed by the Montana Constitution and

legislative enactments. Mont. Const. Article IX, Sec. 7; see also, Mont. Code

Ann., § 87-1-107. Defendants are “public entities” within the meaning of the

ADA. 42 U.S.C.A. § 12131(1). Each of the Plaintiffs is a “qualified individual

with a disability” as that term is defined by the ADA. 42 U.S.C.A. § 12131(2).

And despite requests from each Plaintiff, Defendants have failed and refused to

provide Plaintiffs with a “reasonable accommodation” that would allow them, like

all other Montana archery hunters, to participate in Montana’s regular archery

season. 42 U.S.C.A. § 12132; 28 C.F.R. § 35.130(b)(7)(i).


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      69.    Plaintiffs are likely to suffer irreparable harm in the absence of

preliminary relief because of Defendants’ violation of the Rehabilitation Act and

the ADA by precluding Plaintiffs through Defendants’ refusal to provide

reasonable accommodations to compensate for Plaintiffs’ inability to perform

major life activities as a result of their disabilities (kneeling, standing, pulling, and

the like), and from their inability to enjoy Montana’s constitutionally protected

major life event, archery hunting during Montana’s regular archery season, a

sacrosanct right of all Montanans; by Defendants’ violation of the ADA by their

refusal to provide reasonable accommodations (the use of crossbows) that would

allow Plaintiffs to enjoy, like all other Montanans, the ability to archery hunt

during Montana’s regular archery season, particularly during the 2021 regular

archery season which commences on September 4, 2021; by the Montana

Legislature’s failure to pass proposed legislation that would have provided

reasonable accommodation; and with respect to Plaintiffs Gardipee and Helmers,

by depriving them of their constitutionally protected status as military veterans.

Mont. Const. Art. II, Sec 35.

      70.    The balance of equities related to Plaintiffs’ Application for

Temporary Restraining Order, Preliminary and Permanent Injunctive Relief is

strongly tipped in Plaintiffs’ favor. Each Plaintiff, because of his disability and

loss of ability to engage in certain major life activities (kneeling, standing, pulling,


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and the like) and because of Defendants’ refusal to accommodate reasonable

requests, is unable to participate in another major life event – the ability to archery

hunt during Montana’s regular archery season – a right protected by Montana’s

Constitution. Mont. Const. Article IX, Sec. 7. The balance of equities are further

tipped in Plaintiffs’ favor as a result of Defendants’ violation of the Rehabilitation

Act and the ADA, despite requests for reasonable accommodation by each of the

Plaintiffs.

       71.    Plaintiffs’ action and request for injunctive relief, first in the form of a

Temporary Restraining Order, is in the public interest. Many disabled Montana

archery hunters are similarly situated with Plaintiffs in that they cannot hunt during

Montana’s regular archery season since their disabilities preclude them from their

ability to use archery equipment allowed by Defendants (“longbow, flatbow,

recurve bow, compound bow, or any combination of these designs”). Compelling

Defendants to provide Plaintiffs with reasonable accommodation – the use of

crossbows during Montana’s regular archery season – will serve the public interest

by also allowing similarly situated disabled Montana archery hunters with the same

accommodations afforded by the Court’s granting the requested relief to Plaintiffs.

       72.    Defendants have been provided with a copy of this Complaint and

have been notified of its filing. (Rule 65 Certification, filed concurrently with this

Complaint).


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      73.    Pursuant to Rule 65, F.R.Civ.P., Plaintiffs request that this Court issue

a Temporary Restraining Order directing Defendants to provide reasonable

accommodation to Plaintiffs by allowing their use of crossbows during Montana’s

regular archery season commencing on September 4, 2021, and then directing

Defendants to appear and show cause, if any there may be, why an injunction

pendente lite should not issue continuing the Temporary Restraining Order during

the pendency of this action enjoining Defendants, and all of their agents, servants,

employees, attorneys, and those persons in active concert or participation with

them who receive actual notice of said injunction pendente lite by personal service

or otherwise, from interfering with Plaintiffs’ ability to use crossbows during the

regular archery season as a reasonable accommodation to them allowing them to

enjoy a major life event available to all Montanans – archery hunting during

Montana’s regular archery season.

      74.    To the extent that there is any question about how the State of

Montana and FWP will be able to “screen” qualifying applicants, the State already

has a procedure utilized for determination of disability that is readily adaptable to

certifying a disabled archery hunter’s inability to use authorized archery equipment

but who is able to use a crossbow. Mont. Code Ann., § 87-2-803; Mont. Admin.

R. 12.3.106 (2000).




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                               COUNT THREE
            (INJUNCTION PENDENTE LITE AND PERMANENT INJUNCTION)
      75.    Plaintiffs incorporate the allegations stated in Paragraphs 1 - 74, as if

fully restated herein.

      76.    For the same reasons articulated in Count Two of this Complaint,

pursuant to Rule 65, M.R.Civ.P., Plaintiffs request that the Temporary Restraining

Order be superseded first with an Injunction Pendente Lite, and ultimately with a

Permanent Injunction enjoining Defendants, and all of their agents, servants,

employees, attorneys, and those persons in active concert or participation with

them who receive actual notice of said Injunction Pendente Lite or Permanent

Injunction by personal service or otherwise, from interfering with Plaintiffs’ ability

to use crossbows during the regular archery season as a reasonable accommodation

to them allowing them to enjoy a major life event available to all Montanans –

archery hunting during Montana’s regular archery season commencing on

September 4, 2021, and in subsequent regular Montana archery seasons.

                                   COUNT FOUR
                                 (ATTORNEY FEES)
      77.    Plaintiffs incorporate the allegations stated in Paragraphs 1 - 76, as if

fully restated herein.

      78.    The Court should exercise the discretion conferred on it by Congress

and include in its Order an award of Plaintiffs’ reasonable costs, expenses and


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attorney fees incurred in prosecuting this action. 42 U.S.C.A. § 12205; 29

U.S.C.S. § 794a(b); 28 C.F.R. § 35.175.

      WHEREFORE, Plaintiffs pray for relief as follows:

      1.     That as to Count One, judgment be entered against Defendants and in

favor of Plaintiffs for Defendants’ violation of the provisions of the Americans

with Disabilities Act, and awarding Plaintiffs nominal and compensatory damages,

as appropriate, together with their reasonable costs, expenses and attorney fees

incurred in prosecuting this action;

      2.     That as to Count Two, the Court issue a Temporary Restraining Order

directing Defendants to provide reasonable accommodation to Plaintiffs by

allowing their use of crossbows during Montana’s regular archery season

commencing on September 4, 2021, and then directing Defendants to appear and

show cause, if any there may be, why an injunction pendente lite should not issue

continuing the Temporary Restraining Order during the pendency of this action

enjoining Defendants, and all of their agents, servants, employees, attorneys, and

those persons in active concert or participation with them who receive actual notice

of said injunction pendente lite by personal service or otherwise, from interfering

with Plaintiffs’ ability to use crossbows during the regular archery season as a

reasonable accommodation to them allowing them to enjoy a major life event




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available to all Montanans – archery hunting during Montana’s regular archery

season.

      3.     That as to Count Three, the Court continue the provisions of the

Temporary Restraining Order in the form of an Injunction Pendente Lite and

ultimately in the form of a Permanent Injunction enjoining Defendants, and all of

their agents, servants, employees, attorneys, and those persons in active concert or

participation with them who receive actual notice of said Injunction Pendente Lite

or Permanent Injunction by personal service or otherwise, from interfering with

Plaintiffs’ ability to use crossbows during the regular archery season as a

reasonable accommodation to them allowing them to enjoy a major life event

available to all Montanans – archery hunting during Montana’s regular archery

season commencing on September 4, 2021, and in subsequent regular Montana

archery seasons.

      4.     That as to Count Four, the Court should exercise the discretion

conferred on it by Congress and include in its Order an award of Plaintiffs’

reasonable costs, expenses and attorney fees incurred in prosecuting this action.

      5.     That the Court award Plaintiffs their reasonable costs expenses and

attorney fees incurred in prosecuting this action as may be allows by statutes

referenced above, the Federal Rules of Civil Procedure, the Montana Local District

Court Rules, or as a matter of equity.


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      6.    That the Court grant Plaintiffs such additional and further relief as

may be just and proper under the circumstances.

      DATED this ____ day of August, 2021.


                                ROCKY MOUNTAIN LAW PARTNERS, P.C.



                                /S/   Bruce A. Fredrickson
                                      Attorneys for Plaintiffs




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